   Case: 1:22-cv-00070 Document #: 1 Filed: 01/05/22 Page 1 of 19 PageID #:1




RomanDeLi
        on




                                                      22CV70
                                         JUDGE NORGLE
CRRCSi
     fangAmer
            ica,I
                nc.                  MAGISTRATE JUDGE COLE


                                       RECE IVEDSH
                                          /2022 1/5
                                                       . BRUTO    N
                                             THOMA.SDG
                                                     IS T R IC T COURT
                                          CLERK, U.S




              RomanDeLi
                      on

       Cook                                           I
                                                      ll
                                                       inoi
                                                          s

                CRRCSi
                     fangAmer
                            ica,I
                                nc.

            13535Tor
                   renceAve

   Chi
     cago                 Cook                 I
                                               L                   60633


                              630   601-
                                       6200




     13535Tor
            renceAve.                                     Chi
                                                            cago

         Cook             I
                          ll
                           inoi
                              s               60633
Case: 1:22-cv-00070 Document #: 1 Filed: 01/05/22 Page 2 of 19 PageID #:2




    X



        Mar
          ch              1st             2019




                  X




        X

                 December            22           2020

        X

                  December            22           2020




            X
Case: 1:22-cv-00070 Document #: 1 Filed: 01/05/22 Page 3 of 19 PageID #:3




     X




                    Oct
                      ober              7            2021
Case: 1:22-cv-00070 Document #: 1 Filed: 01/05/22 Page 4 of 19 PageID #:4

   X

   X

   X




  X




   X

   X

   X


  X                 WRONGFULTERMI
                                NATI
                                   ON
Case: 1:22-cv-00070 Document #: 1 Filed: 01/05/22 Page 5 of 19 PageID #:5




Iworkedf orCRRCSi   fangi navar  i
                                 etyofposi t
                                           ionsbutwaswor   ki
                                                            ngasaMechani    calTeam Leadatt  he
timeofmyunl  awf ulterminat i
                            on.Thr oughoutmyt  enure,Mywor  kenvi r
                                                                  onmentwashost    i
                                                                                   leandiwas
subjectedtosever  eandper  vasivehar assment .Asar esul
                                                      t,Ibegant osuf ferfr
                                                                         om anxi etyanddepr  es-
sion.Irai
        sedmyconcer    nsaboutmyhost    i
                                        lewor kenvironmentwi thmanagementandHumanResor        c-
es,butnot hi
           ngwasdonet    or  emedyt hesituati
                                            on.AroundJune2020Iut    i
                                                                    lizedmyt  woweeksofl   eave
undertheFami  li
               esFi rstCor onavi r
                                 usReaponseAct  .Uponmyr   eturntowor  kIwassubj  ectedt oan
evermor ehost il
               ewor  kenvi ronmentandhar  rassedbymysuper   visor,NikiaBunch.I nmi d-Sept ember
2020Iagai nrequest edl eavet hroughCRRC.  sAbsencePr  oser vi
                                                            cei nwhi chiwasadvi  sedt hatmy
leavewasappr  ovedasofSept    ember14,2020f  oraper i
                                                    odof10weeks.Howeverduet      omydi  sabili
                                                                                             ty
thatifi
      ledandwasappr    ovedf  orandr equestforprotectedleavemer eweeksl  ater,whileonl eave,
CRRCr  ai
        sedf alseallegationsagai  nstmeandiwast   erminated.Fullti
                                                                 mel ineofevent sar eattached




                                                          X




        X
Case: 1:22-cv-00070 Document #: 1 Filed: 01/05/22 Page 6 of 19 PageID #:6




      x




      x




 RomanDeLi
         on



13450S.Macki
           nawAve.




     Chi
       cago                     I
                                ll
                                 inoi
                                    s         60633



                          773     469-
                                     5758
      Case: 1:22-cv-00070 Document #: 1 Filed: 01/05/22 Page 7 of 19 PageID #:7



On Thursday 5/16 I approached my supervisor to make her aware of a situation regarding the team
lead(rios) and his inability to perform his duty. I expressed my frustration about our Chinese trainers
treating me as the team lead and when I explained to them I am not the lead and that they need to
speak to rios that they said they come to me because I am the best and most professional.

Nikki then said she will be back as she needed to find someone from the quality department for another
issue. The day came to an end and nikki never came back to finish our conversation but instead came to
me and another employee that were standing outside the train car to ask why are we not working. At
that point I explained that we were all told just to vacuum out the train and go to break, there was only
two vacuums and seven employees at that time in the train car. A few minutes later nikki told me to
remove foam wrapping off of the front of the rail car. I proceeded to remove the wrapping from the car
as I was on the platform, there was one piece that I couldn't reach from atop the platform and at that
time another employee (adalberto) was walking by so I asked if he can reach the piece for me, as he was
grabbing the piece nikki stopped him and said she told me to do it and leave it alone that she will find
something else for him to do. I then came down off the platform and removed the piece which literally
took 2 seconds.

That night I messaged my manager Brian to ask for a meeting the next day and he said ok. The following
day Friday 5/17 Brian explained he had a few meetings and would call me in after. Before he was able to
see me nikki called me in the lunchroom and asked what is the problem, I then replied that I explained
to her the day before and she never did anything about it. She then proceeded to say she
misunderstood me and took it as I was putting my team down to make myself look better and then said
I need to show her I work that in China I wasn't participating which was false, I explained to nikki i let
everyone else go first that never did the procedures before and I went at the end every time.

Nikki then replied that management said that I wasn't working and just standing around which again
was false, I then asked which management and if anyone seen me standing around they should ask me
what I am doing and there is a reason for whatever I do.

On 5/22 I contacted HR to ask who do I talk to about being harrased by nikki which Mary replied speak
to Brian or Mr Yu.

On 5/22 nikkia was texting my personal number after 9pm which I told her not to text after 7pm.

On 5/28 Rios came to me first thing in the morning and said my task was to sweep all day which I replied
ok and I grabbed a broom and started sweeping, all the coworkers were asking why I was sweeping all
day and I said that is what my team lead assigned me.

On Wednesday 5/29 my team was tasked with applying cardboard and plywood flooring back on the
train after it was inspected by cta. We then proceeded with applying the cardboard and then started to
tape them together, at that time the Chinese trainers called me over and asked if cta said it was ok to
cover the flooring which I replied yes, at that moment nikki walked in and asked why am I not helping
my team and I replied that I was asked a question about what we were doing and then told the trainer I
have to get back to work. About 20 minutes passed and I was organizing the plywood pieces that were
numbered so we can put them in the railcar. A few numbers were missing so we started from the
opposite side of the train and worked in reverse, 6 people were in the train and they would come out to
get the next section to lay down which I was organizing, at that time nikki asked what am I doing. I
explained the process of what I was doing and she said no I want you to start on the other side too, I
      Case: 1:22-cv-00070 Document #: 1 Filed: 01/05/22 Page 8 of 19 PageID #:8



then explained we could not start the otherside because numbers 1,2 and 3 were missing from the pile,
she then asked what do you mean missing and I replied gone, not here, missing. Nikki then proceeded to
tell me to go inside the train with the rest of the people and I explained that I am getting the parts
together and giving it to the people inside and she said I want you in the train with your team. At that
point I got heated and said why are you fucking with me?

She then said she is telling me to do something and if I wanted to go to the office, I explained yes that I
want union representation and she said not to tell at her. I said I am not yelling and she said she felt
threatened and I said so do I they way she is talking to me, I then said I need to take a walk( so I can de
escalate the issue) and she said ok, I then walked away and continued organizing the floor covering, at
that point nikki said I thought you were walking away and I explained I did and I have to Work the told
her what does she want from me and she said go in the train and I told he she needs to leave me alone
and stop talking to me, she kept talking and i said quit talking to me and still she kept going edging me
on so i said and you still keep talking and i walked inside the train and then people were waiting for the
next piece of floor covering and she had someone else start doing what i was doing and i was left just
standing in the train with nothing to do but watch.

I then seen Brian and explained the situation and told him she is messing with me that i was in the
middle of working and he said he will talk to her and figure everything out.

On 5/29 I informed my business representative of the situation.

On 5/30 i was working and no confrontations happened i actually tried to talk to nikki to help as she was
trying to talk to the Chinese to explain what duct tape was, she ignored me and didn't acknowledge me
so I walk away and continued my assignment then after break Brian calls me in the office and i was told
I was suspended pending investigation for insubordination.

On 6/13 i returned to work only to be told i was found guilty of everything nikki claimed i said so 9 days
off without pay was time served and i then was transferred to the exterior equipment team. I told my
business representative that I wanted to fight the results but he said just keep my mouth shut that the
company likes my work ethic so i did.

On 9/5/19 I was called into the office by production manager at the time Brian as well as nikkia to be
told that I was getting promoted to team lead of interior equipment (the original team of mine). Nikki
was mad the entire time because she didn't want me promoted but the decision was vice president Mr
Yu and President Mr Liu. Everything was looking ok and I even approached nikki to clear the air in turn
she admitted she went too far and apologized.

End of October I was having issues with one of my team members Sandra who was not performing her
duties efficiently and was leaving documents and tools out at the end of each day after repeatedly being
told that tools and documents need to be put away daily. I would constantly tell nikkia to write Sandra
up but she would not because she known her 20+ years, then first week of November Sandra went to
HR and said I was discriminating against her for being a black woman. I was called to HR to meet with
Mary and Sandra to discuss all the issues and I explained that the trainers would not want to work with
her because they say she walks away and then just stands around doing nothing. I agreed to give Sandra
a month back with her foreman and catered to her and had to give her an explanation of why I gave her
a certain task for the day and so forth. A month went by and Sandra was still confrontational so we went
      Case: 1:22-cv-00070 Document #: 1 Filed: 01/05/22 Page 9 of 19 PageID #:9



back to HR and they felt I did everything I was supposed to and she was just not going to workout on my
team so they moved her to the cab department.

On 12/4 nikkia approached me saying I had to do install as well as my team lead duties, I then asked if
there was a issue with my teams performance and she replied no not at all I just want you to do install
as well. I then proceeded to ask why change things around if my team was the top team completing
everything and her response was because she wanted to.

On 12/6 Mr yu approached me saying nikkia said I didn't want to do my job which I then explained that
there is not enough time in the day for me to do install work and still do all my team lead duties in which
he just laughed and said nikki was just complaining and walked away.

On 12/9/19 I messaged mr yu proof I do my job and he agreed.

On 12/10 nikkia was telling me to do tasks that are under the supervisor scope which I replied that it is a
supervisors job to do said tasks and I asked to get a copy of my job description as well as assembly
worker,supervisor and foreman so everyone will know who is responsible for what task and stop coming
to me for everything in which she replied No.

On 12/13 I asked nikkia to fill out the form to get some of my new team members tools which she can
only do and she replied no I don't have time for that. I then proceeded to bring it up in our team lead
meeting with Mr yu. Nikkia just replied that its alot to write down so I told Mr yu that I will do it if I can
so my team can get the tools to work. He then said ok. I also asked Lucy who was Mr yus assistant about
getting a copy of job descriptions in which she said ok.

On 12/16 I was given the job description for team lead and I posted it on my cabinet at work along with
rules,a calendar and quality department personnel.

On 12/24 nikkia came to me and was acting real nice and even gave me Christmas cookies then she said
Mr yu wanted to see me, I was in the office with Mr yu and Carmen the new assistant and they asked if I
knew why I was here and I said no. They then told me that nikkia was claiming sexual harassment and
that I will be under investigation and that ernest(electrical supervisor at the time) would be my teams
supervisor from now on.

Nikkia was on leave on and off since 12/24/19.

On 1/14/20 nikkia was being confrontational with Ernest because she felt I was telling Ernest what to
say to her which was false.

On 1/27/20 I emailed HR proof nikkia violated the NDA by posting video of the water test area on her
social media which i got no response.

On 1/29 I had a meeting with the president Mr Liu and showed him the video which in turn they did
nothing to her.

On 2/10/20
Nikki is back now and first day she was trying to take one of my guys off my team. I talked to mr yu
about it and he said he never said take anyone off my team.i told him I'm not going to tolerate her
     Case: 1:22-cv-00070 Document #: 1 Filed: 01/05/22 Page 10 of 19 PageID #:10



games. He said let's wait and see what the report says. Every day that she has been back she is trying to
disrupt my team.

On 2/11 nikkia tells marques the same thing at the end of the day that he is not on my team.

On 2/12 I'm not even at work and nikki and ernest get into it because she says my team took too long at
the morning meeting and told mr yu. Ernest and nikki exchanged words and she kept bringing my name
into it. Ernest said he told her she has an obsession with me and everything is Roman roman roman.

On 2/13 I asked my business representative about going after nikkia for harassment which he replied
that he will look into it.

On 3/18/20 i informed my business representative that I was feeling stressed out with the whole corona
virus and nikkia as well.

On 3/20/20 end of the day, ernest calls me in the office to see the results of my investigation. I seen
discrepancies and I wasn't able to get a hold of my business representative and ernest told me to just
sign it now and talk it over with the business representative that its not valid until the representative
signs it so I did. After work I got into contact with my representative and he said that he didn't sign it yet
and that he is working on the government shutdown and we will go over it later which we did not.

On 3/22/20 930pm employees received a letter about corona virus and procedures, everyone was
freaking out so on 3/23/20 first thing in the morning our representative was going to meet us to answer
questions about the letter because some employees didn't want to work during this pandemic because
of family members. I informed ernest that everyone was waiting to here from our representative before
starting work in which he replied that it is a wildcat strike and he can fire everyone. The business
representative showed up 3 minutes later and held a meeting with everyone to discuss the issues.
Ernest told mr yu and Mr Liu that I was the one starting everything which was not true and Mr yu came
up to me and said I started it and I had a talk with Mr Liu that day as well to explain the situation that
everyone was just scared and it was only a few minutes until our rep came, plus my team had no tasks
for the day anyway they were just organizing and trying to stay busy after. We still had our meetings and
everyone was sitting next to each other not obiding by the 6' separation.

On 3/24 I informed management that I will be taking 2 weeks under espla because my son is online
school. After the two weeks we were on a furlough until 6/15/20.

 On 6/15 I found out various maintenance and Chinese staff are working without having their covid test
results back from symptoms they had.

On 6/20/20 i was talking to HR about EAP due to work issues(nikkia). I spoke with someone from EAP
and was informed that it was just a 3 session service so I decided to just get my own counselor through
my insurance.

On 6/25/20 employees were loading a train on the truck and they were not moving at the time and I
needed to get past them to get materials so I asked the maintenance guy Miguel if it was ok to go
through which he replied yes go ahead, after nikkia went running over to ernest to tell him I walked
through when I wasn't supposed to and didn't ask anyone which was false, I then reported the issue to
my representative.
     Case: 1:22-cv-00070 Document #: 1 Filed: 01/05/22 Page 11 of 19 PageID #:11



On 7/8/20 I started my counseling which in turn I was told that what nikkia is doing is bullying and
harassment and I should get a lawyer.

On 7/10/20 I was offered the mechanical supervisor position but I turned it down because it was non
union and way less pay.

On 7/13/20 an employee Adrian from exterior tested positive and my entire team got tested because
they were close to him, I was off on 7/13 and the testing site was closed on 7/14 so I went on 7/15. After
talking to ernest on 7/15 about my covid status I was informed another employee didn't want to get
tested but yet he was partners with Adrian, I then proved that he was in close proximity so they made
him get tested.

On 8/12 people were asked if they wanted to volunteer to be laid off because work was slow.

On 8/17 I seen doctor Guerrero who diagnosed me with anxiety and depression and I was given
medication. His advice was I need to leave that job because of the stress.

 On 8/26 nikkia started messing with my team again, this time Taylor was told that she had her phone on
her and that she can't have it on the shop floor which in turn I told Ceasar who is now my new
supervisor because ernest became production manager that why is she picking on my team when javinn
was sitting at the desk on his phone in front of everyone and also never wears a mask correct and she
didn't tell him anything. Plus its discrimination because only leads can have phones plus the Chinese
workers not the rest of the American workers. I was then told from cesar that ernest seen the phone in
her back pocket and told nikkoa to say something which is highly unlikely considering the situation.

On 8/26 nikkia was sitting at the quality desk without her mask and the safety guy was walking by and I
stopped him and showed him what I have been telling him about since we came back from furlough and
he says that he can't do anything that he doesn't have any power so I took a photo and sent it to ernest
which he replied wow.

On 8/28 they asked people again to volunteer to be laid off and I raised my hand and ernest said not me
lol.

On 8/31 we were told we were on an as needed basis and that they will be putting a schedule together
every week and we report to work every Monday to see if we are on the schedule for the week and if
not we only work half a day that Monday. People had problems with the way they set the schedule up
because they would constantly change it during the week and people that didn't expect to work had to
come in if needed. So ceaser told everyone in the group that if the schedule changes during the week
that it would be voluntarily if you want to come in.

On 8/31/20 i was approved for fmla due to my anxiety and depression.

On 9/1/20 at our morning meeting electricians asked questions about why they are not doing
commissioning work and its only Chinese. After ernest said its not their scope anymore he asked if there
was anymore questions about commissioning in which I replied I have a question. I was trying to ask
who lets me know when a part goes bad that my team installs that we have to change and I couldn't
even finish my sentence when ernest replies thats not what he is talking about that he is talking about
commissioning and I explained yes I am talking about commissioning and I tried to ask the question
again and he cut me off for the second time saying thats not what he is talking about so I said I should
     Case: 1:22-cv-00070 Document #: 1 Filed: 01/05/22 Page 12 of 19 PageID #:12



just take my 12 week emflea which he said go ahead go talk to Mary she will be here today so I said ok I
will. I reached out to Mary to talk about going after nikkia as well as what ernest just did but when I get
there she tells me ceaser and ernest said I'm picking on nikki by taking her photo with no mask and went
on to say I am starting problems at the company and I said I don't like the Chinese and their work ethic
sucks and they should leave already in which Mary said that it does not sound like me at all. She knows
that all the Chinese workers respect me as I did them. Mary then told me just to email or wechat ceaser
and ernest so they can't switch my words around. She told me just don't let it bother me and just go to
work.

On 9/10 exterior asked me to contact our representative because nikki told them that they had
mandatory overtime on 9/12&9/13 and union knows so when I contacted our representative he said
nothing was ever said about mandatory ot just the schedule for the week. We are 2 different groups
which one nikki is in charge of and one ceaser is in charge of so we don't get the same messages as far
as work goes.

On 9/12 I filed for my 12 weeks under emflea and when I spoke with absence pro they informed me that
it takes at least 5 days to process after they receive paperwork but that I can stay off work on the days I
requested which was starting 9/14/20. I informed management in writing that I will be on leave starting
9/14 and as I was walking out with all my stuff ceaser came up to me and Patrick and asked if we were
coming in Saturday and possibly Sunday, in which I replied I dont know man depends how drunk I get
and we all stated laughing and I said we will see becauseour team was going to the bar becauseit was
my last day for 3 months, he never said it was mandatory otherwise I would have started edmlea on
9/12 but it was an off day so I put 9/14. I did not show up to work on 9/12 but I wasn't the only one and
ceaser called people on 9/12 to work 9/13 in which I never received a call to be offered work.

On 9/13/20 I sent Mary pictures of others not wearing their masks to prove i wasn't singling out nikkia.

On 9/15 I received a email stating I had to return to work until my leave was approved or else I would be
terminated. I informed my business representative of what happened and that the company did not do
the same procedure to various others on the same leave but he said just to go back until I get the
approval. I returned to work 9/16/20 until I got my approval letter on 9/18 which I again informed
management of my leave. Not once out of those 3 days I was there did they mention anything about the
weekend that I wasn't there. On 9/25 I didn't receive my retro pay starting from 9/14 and I was told the
first two weeks were unpaid which was not true. I tried to ask for a conference call with HR and absence
pro but I was told by HR no. I then contacted my business representative and told him I wanted to file a
grievance for not being asked to work on 9/13 which the business representative said that since i didn't
come in on 9/12 they weren't going to let me work 9/13 which is unfair because ceaser called rob lange
to ask him to come in on 9/13 and he was off on 9/12 too.

On 10/5/20 my business representative called me saying crrc is terminating me for not showing up on
9/12 saying I knew it was mandatory and that I said i was coming in and since I didn't come in they said
it was a no call no show and I was on last chance so immediate termination. They said that since I signed
the paperwork and the company signed it that it was valid without my business representative
signature.

On 11/23/20 I received a letter from unemployment saying that crrc said I was unavailable to work and
stopped my unemployment so now I'm just waiting on unemployment to call so I can fix it.
Case: 1:22-cv-00070 Document #: 1 Filed: 01/05/22 Page 13 of 19 PageID #:13
Case: 1:22-cv-00070 Document #: 1 Filed: 01/05/22 Page 14 of 19 PageID #:14
                  Case: 1:22-cv-00070 Document #: 1 Filed: 01/05/22 Page 15 of 19 PageID #:15
EEOC Form 161 (11/2020)                  U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION

                                                 DISMISSAL AND NOTICE OF RIGHTS
To:    Roman Delion                                                                    From:    Chicago District Office
       c/o Lisa Shelbly, Attorney                                                               230 S. Dearborn
       SPIELBERGER LAW GROUP, LLC                                                               Suite 1866
       4890 W. Kennedy Blvd. Ste. 950 |                                                         Chicago, IL 60604
       Tampa, FL 33609
                            On behalf of person(s) aggrieved whose identity is
                            CONFIDENTIAL (29 CFR §1601.7(a))
EEOC Charge No.                                 EEOC Representative                                                   Telephone No.

                                                Kara Mitchell,
440-2021-01468                                  Investigator                                                          (312) 872-9702
THE EEOC IS CLOSING ITS FILE ON THIS CHARGE FOR THE FOLLOWING REASON:
                 The facts alleged in the charge fail to state a claim under any of the statutes enforced by the EEOC.

                 Your allegations did not involve a disability as defined by the Americans With Disabilities Act.

                 The Respondent employs less than the required number of employees or is not otherwise covered by the statutes.

                 Your charge was not timely filed with EEOC; in other words, you waited too long after the date(s) of the alleged
                 discrimination to file your charge
       X         The EEOC issues the following determination: The EEOC will not proceed further with its investigation, and makes no
                 determination about whether further investigation would establish violations of the statute. This does not mean the claims
                 have no merit. This determination does not certify that the respondent is in compliance with the statutes. The EEOC
                 makes no finding as to the merits of any other issues that might be construed as having been raised by this charge.
                 The EEOC has adopted the findings of the state or local fair employment practices agency that investigated this charge.

                 Other (briefly state)

                                                         - NOTICE OF SUIT RIGHTS -
                                                   (See the additional information attached to this form.)

Title VII, the Americans with Disabilities Act, the Genetic Information Nondiscrimination Act, or the Age
Discrimination in Employment Act: This will be the only notice of dismissal and of your right to sue that we will send you.
You may file a lawsuit against the respondent(s) under federal law based on this charge in federal or state court. Your
lawsuit must be filed WITHIN 90 DAYS of your receipt of this notice; or your right to sue based on this charge will be
lost. (The time limit for filing suit based on a claim under state law may be different.)

Equal Pay Act (EPA): EPA suits must be filed in federal or state court within 2 years (3 years for willful violations) of the
alleged EPA underpayment. This means that backpay due for any violations that occurred more than 2 years (3 years)
before you file suit may not be collectible.

                                                                     On behalf of the Commission

                                           Julianne Bowman/eh                                                       10/7/2021
Enclosures(s)
                                                                  Julianne Bowman,                                          (Date Issued)
                                                                   District Director
cc:
           CRRC Sifang, America, Inc.
           c/o Jill B. Lubetsky. Attorney
           Michael Best & Friedrich LLP
           444 W LAKE ST, STE 3200
           Chicago, IL 60606
             Case: 1:22-cv-00070 Document #: 1 Filed: 01/05/22 Page 16 of 19 PageID #:16
Enclosure with EEOC
Form 161 (11/2020)
                                             INFORMATION RELATED TO FILING SUIT
                                           UNDER THE LAWS ENFORCED BY THE EEOC
                               (This information relates to filing suit in Federal or State court under Federal law.
                      If you also plan to sue claiming violations of State law, please be aware that time limits and other
                             provisions of State law may be shorter or more limited than those described below.)


                                       Title VII of the Civil Rights Act, the Americans with Disabilities Act (ADA),
PRIVATE SUIT RIGHTS               --
                                       the Genetic Information Nondiscrimination Act (GINA), or the Age
                                       Discrimination in Employment Act (ADEA):

In order to pursue this matter further, you must file a lawsuit against the respondent(s) named in the charge within
90 days of the date you receive this Notice. Therefore, you should keep a record of this date. Once this 90-
day period is over, your right to sue based on the charge referred to in this Notice will be lost. If you intend to
consult an attorney, you should do so promptly. Give your attorney a copy of this Notice, and its envelope or
record of receipt, and tell him or her the date you received it. Furthermore, in order to avoid any question that you
did not act in a timely manner, it is prudent that your suit be filed within 90 days of the date this Notice was
issued to you (as indicated where the Notice is signed) or the date of the postmark or record of receipt, if later.

Your lawsuit may be filed in U.S. District Court or a State court of competent jurisdiction. (Usually, the appropriate
State court is the general civil trial court.) Whether you file in Federal or State court is a matter for you to decide
after talking to your attorney. Filing this Notice is not enough. You must file a "complaint" that contains a short
statement of the facts of your case which shows that you are entitled to relief. Your suit may include any matter
alleged in the charge or, to the extent permitted by court decisions, matters like or related to the matters alleged in
the charge. Generally, suits are brought in the State where the alleged unlawful practice occurred, but in some
cases can be brought where relevant employment records are kept, where the employment would have been, or
where the respondent has its main office. If you have simple questions, you usually can get answers from the
office of the clerk of the court where you are bringing suit, but do not expect that office to write your complaint or
make legal strategy decisions for you.

PRIVATE SUIT RIGHTS               --   Equal Pay Act (EPA):

EPA suits must be filed in court within 2 years (3 years for willful violations) of the alleged EPA underpayment: back
pay due for violations that occurred more than 2 years (3 years) before you file suit may not be collectible. For
example, if you were underpaid under the EPA for work performed from 7/1/08 to 12/1/08, you should file suit
before 7/1/10 – not 12/1/10 -- in order to recover unpaid wages due for July 2008. This time limit for filing an EPA
suit is separate from the 90-day filing period under Title VII, the ADA, GINA or the ADEA referred to above.
Therefore, if you also plan to sue under Title VII, the ADA, GINA or the ADEA, in addition to suing on the EPA
claim, suit must be filed within 90 days of this Notice and within the 2- or 3-year EPA back pay recovery period.

ATTORNEY REPRESENTATION --                     Title VII, the ADA or GINA:

If you cannot afford or have been unable to obtain a lawyer to represent you, the U.S. District Court having jurisdiction
in your case may, in limited circumstances, assist you in obtaining a lawyer. Requests for such assistance must be
made to the U.S. District Court in the form and manner it requires (you should be prepared to explain in detail your
efforts to retain an attorney). Requests should be made well before the end of the 90-day period mentioned above,
because such requests do not relieve you of the requirement to bring suit within 90 days.

ATTORNEY REFERRAL AND EEOC ASSISTANCE                             --   All Statutes:

You may contact the EEOC representative shown on your Notice if you need help in finding a lawyer or if you have any
questions about your legal rights, including advice on which U.S. District Court can hear your case. If you need to
inspect or obtain a copy of information in EEOC's file on the charge, please request it promptly in writing and provide
your charge number (as shown on your Notice). While EEOC destroys charge files after a certain time, all charge files
are kept for at least 6 months after our last action on the case. Therefore, if you file suit and want to review the charge
file, please make your review request within 6 months of this Notice. (Before filing suit, any request should be
made within the next 90 days.)

                  IF YOU FILE SUIT, PLEASE SEND A COPY OF YOUR COURT COMPLAINT TO THIS OFFICE.
             Case: 1:22-cv-00070 Document #: 1 Filed: 01/05/22 Page 17 of 19 PageID #:17
NOTICE OF RIGHTS UNDER THE ADA AMENDMENTS ACT OF 2008 (ADAAA): The ADA was
amended, effective January 1, 2009, to broaden the definitions of disability to make it easier for individuals to
be covered under the ADA/ADAAA. A disability is still defined as (1) a physical or mental impairment that
substantially limits one or more major life activities (actual disability); (2) a record of a substantially limiting
impairment; or (3) being regarded as having a disability. However, these terms are redefined, and it is easier to
be covered under the new law.

If you plan to retain an attorney to assist you with your ADA claim, we recommend that you share this
information with your attorney and suggest that he or she consult the amended regulations and
appendix,        and         other       ADA          related     publications,    available       at
http://www.eeoc.gov/laws/types/disability_regulations.cfm.

“Actual” disability or a “record of” a disability (note: if you are pursuing a failure to accommodate claim
you must meet the standards for either “actual” or “record of” a disability):

     The limitations from the impairment no longer have to be severe or significant for the impairment to
     be considered substantially limiting.
     In addition to activities such as performing manual tasks, walking, seeing, hearing, speaking, breathing,
     learning, thinking, concentrating, reading, bending, and communicating (more examples at 29 C.F.R. §
     1630.2(i)), “major life activities” now include the operation of major bodily functions, such as:
     functions of the immune system, special sense organs and skin; normal cell growth; and digestive,
     genitourinary, bowel, bladder, neurological, brain, respiratory, circulatory, cardiovascular, endocrine,
     hemic, lymphatic, musculoskeletal, and reproductive functions; or the operation of an individual organ
     within a body system.
     Only one major life activity need be substantially limited.
     With the exception of ordinary eyeglasses or contact lenses, the beneficial effects of “mitigating
     measures” (e.g., hearing aid, prosthesis, medication, therapy, behavioral modifications) are not
     considered in determining if the impairment substantially limits a major life activity.
     An impairment that is “episodic” (e.g., epilepsy, depression, multiple sclerosis) or “in remission” (e.g.,
     cancer) is a disability if it would be substantially limiting when active.
     An impairment may be substantially limiting even though it lasts or is expected to last fewer than six
     months.

“Regarded as” coverage:
    An individual can meet the definition of disability if an employment action was taken because of an
    actual or perceived impairment (e.g., refusal to hire, demotion, placement on involuntary leave,
    termination, exclusion for failure to meet a qualification standard, harassment, or denial of any other term,
    condition, or privilege of employment).
    “Regarded as” coverage under the ADAAA no longer requires that an impairment be substantially
    limiting, or that the employer perceives the impairment to be substantially limiting.
    The employer has a defense against a “regarded as” claim only when the impairment at issue is objectively
    BOTH transitory (lasting or expected to last six months or less) AND minor.
    A person is not able to bring a failure to accommodate claim if the individual is covered only under the
    “regarded as” definition of “disability.”

Note: Although the amended ADA states that the definition of disability “shall be construed broadly” and
“should not demand extensive analysis,” some courts require specificity in the complaint explaining how an
impairment substantially limits a major life activity or what facts indicate the challenged employment action
was because of the impairment. Beyond the initial pleading stage, some courts will require specific evidence
to establish disability. For more information, consult the amended regulations and appendix, as well as
explanatory publications, available at http://www.eeoc.gov/laws/types/disability_regulations.cfm.
Case: 1:22-cv-00070 Document #: 1 Filed: 01/05/22 Page 18 of 19 PageID #:18




                   Received by EEOC-CDO 12/23/2020

                                                     440-2021-01468
Case: 1:22-cv-00070 Document #: 1 Filed: 01/05/22 Page 19 of 19 PageID #:19




                                                    440-2021-01468
